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                          UNITED STATES DISTRICT COURT
                              DISTRICT OF MINNESOTA


United States of America,                        Case No. 20-cr-291 (DSD/DTS)

       Plaintiff,
                                                 ORDER
v.

Gregory Carl Koch, and
David Jerome Kangas

       Defendants.


       Defendants filed several non-dispositive motions, each either seeking to compel

the Government to produce certain discovery or requesting that the Government facilitate

its disclosure from Park Nicollet. The Court addresses the contested motions below.

                                         FACTS

       A grand jury indicted Defendants Gregory Koch and Jerome Kangas under 18

U.S.C. §§ 2, 1341 for each aiding and abetting the other in a scheme to defraud their

employer, Park Nicollet. Indictment at 1, Dkt. No. 1. The indictment alleges that Koch,

who was Kangas’s supervisor, approved fraudulent timecard entries and authorized

overtime pay to which Kangas was not entitled. Id. ¶¶ 6–7. As a result, Kangas allegedly

received from Park Nicollet more than $505,000 of pay over a five-year period for 38,000

hours of work he did not perform. Id. ¶¶ 1, 8.

       Park Nicollet conducted an internal investigation into Defendants’ actions. After

completing that investigation, Park Nicollet turned over its investigation findings to law

enforcement. Park Nicollet complied with requests from the FBI and United States

Attorney for certain information, but it did not relinquish all its documents to the
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Government—only those of its choosing and ones the Government requested. Park

Nicollet continues to cooperate with the Government and, according to Defendants, Park

Nicollet remains actively involved in the prosecution.

       Defendants allege that Park Nicollet handed the Government a complete

investigation ready for prosecution. To illustrate the relationship and coordinated efforts

between the Government and Park Nicollet, Defendants provide these examples: Park

Nicollet willingly provided the Government with documents it requested. Defs.’ Mem. at 5

¶ 1, Dkt. No. 67. Park Nicollet summarized the findings of its internal investigation for the

Government in a way that reflected the Government and Park Nicollet’s collaboration. Id.

at 5–6 ¶ 3. Park Nicollet was willing to modify certain findings or products at the

Government’s request. Id. And Park Nicollet’s insurance company, Zurich American

Insurance Company, regularly communicated with the FBI seeking updates and

recommending criminal sentencing provisions if the Government secured a conviction.

Id. at 7–8 ¶¶ 1–2.

                                        ANALYSIS

I.     Motion for Government Disclosure

       Defendants first request that the Government disclose several documents and

records from Defendants’ employment at Park Nicollet and from Park Nicollet’s internal

investigation, which are material to preparing for their defense. These include work

emails, employment contracts, and performance evaluations. Defendants allege many of

these items are also exculpatory or could be used at trial as impeachment evidence, and

thus the Government must also disclose them under Brady v. Maryland, 373 U.S. 83

(1963). The Government does not dispute Defendants’ assertion that the items they seek




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are material or favorable, but argues merely that it does not possess those documents to

disclose. It suggests that Defendants should obtain those documents directly from Park

Nicollet via subpoena.

       The Government must disclose certain discovery to Defendants. Its disclosure

obligations arise from two sources. First, Federal Rule of Criminal Procedure 16 requires

the Government to permit defendants to inspect and copy documents material to

preparing their defense that are within its possession, custody, or control. Fed. R. Crim.

P. 16(a)(1)(E)(i). Second, Due Process requires the Government to disclose favorable

defense evidence material to guilt or punishment. Brady, 373 U.S. at 87.

       A.     Rule 16

       Under Rule 16, the Government must disclose certain discovery to the defense, if

requested. One category of those discovery disclosures is documents and objects:

       (E) Documents and Objects. Upon a defendant’s request, the government
       must permit the defendant to inspect and to copy . . . papers, documents,
       data, . . . tangible objects, . . . or copies of portions of any of these items, if
       the item is within the government’s possession, custody, or control and:
               (i) the item is material to preparing the defense;
               (ii) the government intends to use the item in its case-in-chief at trial;
                    or
               (iii) the item was obtained from or belongs to the defendant.

Fed. R. Crim. P. 16(a)(1)(E). Though the rule’s wording emphasizes the parties’ duty to

engage in discovery disclosure, it “is intended to prescribe the minimum amount of

discovery to which the parties are entitled” and courts have “the inherent right to enter an

order under this rule.” Fed. R. Crim. P. 16 advisory committee’s note to 1974 amendment.

       In the context of Rule 16, “government” means the prosecuting United States

Attorney and any (usually federal) agency participating in the investigation or cooperating

with the prosecution. United States v. Poindexter, 727 F. Supp. 1470, 1477 (D.D.C. 1989)



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(“Rule 16(a)(1)[(E)],1 requires only the production of documents in the hands of the

prosecutor, any investigative unit under the prosecutor’s control, and any other federal

agency allied with the prosecution or involved in the prosecution of criminal litigation.”).

Here, however, defendants allege that Park Nicollet is so entwined with the Government’s

investigation that documents in its hands are constructively within the Government’s

possession or are within its control.

              1. Possession

       Because Rule 16(a)(1)(E) does not contain a due diligence requirement, like Rules

16(a)(1)(D) and (F), courts have typically declined to interpret the rule to create a

disclosure obligation based on constructive possession. E.g., United States v. Mills, No.

16-cr-20460, 2019 WL 3423318, at *3 (E.D. Mich. July 30, 2019), United States v.

Gregory, No. 2:05-cr-64, 2006 WL 8439328, at *2 (E.D. Tenn. Oct. 6, 2006); see 25 JAMES

WM. MOORE    ET AL.,   MOORE’S FEDERAL PRACTICE § 616.05 (2018) (“In order to trigger

discovery under this provision, the papers, documents, or tangible objects must be in the

actual custody or control of the federal government.”).

       But when the Government’s investigation or prosecution of a defendant is a joint

effort with another agency, the Government must determine whether those agencies have

any information embraced within Rule 16. See United States v. Jordan, 316 F.3d 1215,

1249 (11th Cir. 2003) (“While Rule 16(a) only applies to materials within the ‘possession,

custody, or control of the government,’ courts have found that the ‘possession, custody,

or control of the government’ requirement includes materials in the hands of a

governmental investigatory agency closely connected to the prosecutor.”); United States


1 Before the 2002 amendment, Federal Rule of Criminal Procedure 16(a)(1)(E) was
formerly Rule 16(a)(1)(C).


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v. Skaggs, 327 F.R.D. 165, 174 (S.D. Ohio 2018) (“The prosecution is deemed to have

knowledge of and access to material that is in the possession of any federal agency that

participated in the investigation that led to defendant’s indictment, or that has otherwise

cooperated with the prosecution.”). Thus, when a governmental agency acts as an arm

of the prosecution team, their possession of discoverable evidence may be attributable

to the Government and require the Government to make reasonable efforts to obtain and

disclose that Rule 16 evidence. This Court, however, has found no cases in which a court

has found that a private entity’s possession of documents has been held to be within the

constructive possession of the prosecuting entity. Control, as distinct from possession, is

another matter.

              2. Control

       Rule 16’s obligation to disclose extends not only to document’s the Government

possesses, but also to those over which it has control. “Legal ownership of the requested

documents or things is not determinative, nor is actual possession necessary if the

[United States Attorney] has control of the items. Control has been defined to include ‘the

legal right to obtain the documents requested upon demand.’ The term ‘control’ is broadly

construed.” 7 JAMES WM. MOORE ET AL., MOORE’S FEDERAL PRACTICE § 34.14[2][b], at 34–

63 to 34-64 (3d ed. 2006) (footnotes omitted); United States v. Stein, 488 F. Supp. 2d

350, 361 & n.45 (S.D.N.Y. 2007) (citing Moore’s Federal Practice and collecting cases);

cf. Damgaard v. Avera Health, No. 13-cv-2192, 2014 WL 12599853, at *2 (“[C]ontrol not

only encompasses actual physical possession of the documents, but also the legal right

or practical ability to demand the documents from a third party.”).




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       Courts have applied this broad understanding of control to order the Government

under Rule 16 to request and produce discovery from a private entity. In United States v.

Kilroy, 523 F. Supp. 206 (E.D. Wis. 1981), the defendant sought documents under

Rule 16 that his former employer (Standard Oil) possessed. That Standard Oil, rather

than the Government, possessed the documents did not bar the discovery because the

Government could easily obtain those documents and thus had control of them. For that

reason, the court saw:

       no objection to an order requiring the Government, as the defendant asks,
       to use its “best efforts” to obtain from Standard Oil all of the documents in
       its possession which came out of the defendant’s former office. . . . Since
       Standard Oil is cooperating with the Government in the preparation of the
       case and is making available to the Government for retention in the
       Government’s files any records which Standard Oil has and which the
       Government wants, however, it is not unreasonable to treat the records as
       being within the Government’s control at least to the extent of requiring the
       Government to request the records on the defendant’s behalf and to include
       them in its files for the defendant’s review if Standard Oil agrees to make
       them available to the Government.

Id. at 215.

       Similarly, in United States v. Skeddle, 167 F.R.D. 258 (W.D. Ohio 1997), the court

found that the Government controlled documents that it once possessed but since

returned to a private third-party company. Relying in part on the rationale from Kilroy, the

court ordered the Government to retrieve those documents and disclose them to the

defendant.

       Finally, in United States v. Holihan, 236 F. Supp. 2d 255 (W.D.N.Y. 2002), the

court ordered the Government to disclose documents in the hands of a private party. In

Holihan, a bank employee was indicted for embezzling money from clients’ accounts. In

preparation for his trial, Holihan sought discovery under Rule 16 for documents such as

bank computer terminal records, the bank’s operating procedures, and transaction


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records. In response, the government denied that those records were “within the

possession of the Government and, if such documents exist[ed], they [were] more likely

to be in the case files of the . . . Bank investigator2 investigating the case.” Id. at 258–59.

Because the prosecutor had engaged in a joint investigation with federal agents and the

bank investigator, the court found that the discovery sought was within the government’s

control and ordered its disclosure under Rule 16. Id. at 261.

       Like the bank in Holihan, Park Nicollet conducted an internal investigation in

response to allegations of employee misconduct—there embezzlement, here fraud. In

both cases, the prosecutor worked closely with the FBI and the victim company to obtain

evidence, investigate facts, and facilitate the criminal prosecution of the employee(s). And

like the prosecutor in Holihan, the Government here claims that it does not possess the

discovery Defendants seek, even though that discovery is readily obtainable by it.

       Though Park Nicollet, rather than the Government, physically possesses the

discovery Defendants seek, the Government has the practical ability to obtain the

documents on request. Park Nicollet has worked closely with the Government and fulfilled

its requests throughout the investigation and prosecution. There is no reason to believe

that Park Nicollet would not continue to provide the Government with whatever

documents it requests. For that reason, the Government is in control of the documents




2 Holihan is ambiguous about whether the “Bank investigator” is a private employee of
the bank or a federal bank examiner from Office of the Comptroller of the Currency.
Holihan abbreviated HSBC Bank as “the Bank” and throughout the opinion referred to the
Bank investigator. This Court presumes that the judge in Holihan intended the wording
she used and therefore reads Holihan as granting discovery from a third-party non-federal
entity.


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and Rule 16 obligates the Government to obtain and disclose that evidence to

Defendants.

       B. Brady

       Defendants allege that the Government must disclose certain documents they

seek under Brady, which, along with the cases following it, establishes that Due Process

requires the Government to disclose evidence that is exculpatory or that could be used

to impeach Government witnesses. Brady, 373 U.S. at 83; Giglio v. United States, 405

U.S. 150 (1972). The scope of evidence the Government must disclose under Brady and

Giglio is narrower than what Rule 16 requires, but, unlike Rule 16, the Government’s

disclosure obligation exists irrespective of a defendant’s request. United States v. Bagley,

473 U.S. 667, 682 (1985) (plurality opinion).

       Brady’s mandate, however, is not without exception. The Government need not

disclose Brady evidence if it is available to the defense through other channels, United

States v. Roy, 781 F.3d 416, 421 (8th Cir. 2015), or is information the defense already

possesses, United States v. Sigillito, 759 F.3d 913, 929 (8th Cir. 2014).

       Rule 17 permits Defendants to subpoena documents from Park Nicollet. Because

the documents Defendants seek are available by subpoena Brady does not impose any

requirement on the Government. Horton v. United States, 983 F. Supp. 650, 656 (E.D.

Va. 1997). But because Rule 16 does, the Court will grant Defendants’ disclosure under

Rule 16 rather than Brady.

II.    Motion for In Camera Review

       Defendants next request that the Court review in camera medical records of

patients Kangas treated. Defendants allege these records will show that Kangas’s pay




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during those times was for work he actually performed. Thus, if Kangas was treating

patients, he was entitled to compensation during that time, his pay would not have been

fraudulent, and Park Nicollet would have incurred no loss. See United States v. Luna, 968

F.3d 922, 929 (8th Cir. 2020). Similarly, Koch’s entry and approval of Kangas’s timecard

would not have been fraudulent.

       Defendants assert they need patients’ medical records to establish both that

Kangas provided the services for which he was paid and that they were medically

necessary. Both Minnesota and federal law, however, protect patient medical records

from disclosure. Minn. Stat. § 144.291 et seq.; 45 C.F.R. § 160.101 et seq. Though there

is a strong public interest in protecting health information, a defendant can overcome that

protection by showing that the protected information is relevant and material to the

fairness of the trial. Pennsylvania v. Ritchie, 480 U.S. 39, 57–60 (1987). In that

circumstance, courts first conduct an in camera review of the information to determine its

materiality. Id.

       The Government opposes Defendants’ request because it alleges that Defendants

must first obtain the patient records before the Court can conduct an in camera review.

And because the Government does not possess the records—and Park Nicollet instead

does—the Government cannot provide the records to the Court for review.

       The Court finds that Defendants have established a basis that the patient medical

records they seek may contain information material to their defense that is also potentially

exculpatory. Thus, the Court will conduct an in camera review. The Government must

obtain and provide these records to the Court for in camera review.




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III.   Motion for a Bill of Particulars

       Finally, Koch requests that the Government supplement the indictment with a bill

of particulars. Dkt. No. 39. He argues that the indictment alleges his involvement in a

scheme to defraud Park Nicollet, yet it was Kangas, not Koch, who obtained any

defrauded money. Koch, by contrast, received no money or property. Koch’s “I didn’t

receive any money so I can’t be charged” theory is unsupported by the plain language of

the statute.

       First, the grand jury indicted Koch for aiding and abetting Kangas in devising and

executing a scheme to defraud Park Nicollet. Someone who aids or abets another in

committing a crime is punishable as a principal. 18 U.S.C. § 2. Under this theory of

liability, the Government need not prove that the accomplice committed each element of

the underlying crime, only that they aided or abetted another in committing that crime.

United States v. Simpson, 979 F.2d 1282, 1285 (8th Cir. 1992), abrogated on other

grounds by Dixon v. United States, 548 U.S. 1 (2006). The principal’s actions are then

attributable to the accomplice. Pereira v. United States, 347 U.S. 1, 11–12 (1954); Nye &

Nissen v. United States, 336 U.S. 613, 620 (1949) (“Aiding and abetting . . . states a rule

of criminal responsibility for acts which one assists another in performing.”).

       Koch is correct that the indictment does not describe what money or property Koch

may have obtained from the scheme. But it does not have to. Because Koch was indicted

under a theory of accomplice liability, the Government must prove only that Koch aided

and abetted Kangas in committing mail fraud—that he “in some sort associate[d] himself

with the venture, that he participate[d] in it as in something that he wishe[d] to bring about,

that he [sought] by his action to make it succeed.” United States v. Peoni, 100 F.2d 401,




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402 (2d Cir. 1938) (Hand, J.). Kangas’s actions then become attributable to Koch even

though Koch asserts it was Kangas who received the funds. Dkt. No. 39 at 1. A conviction

of aiding and abetting mail fraud under 18 U.S.C. §§ 2, 1341 does not require that Koch

have received anything for his participation.

         Second, even if the indictment had charged Koch as a principal rather than an

accomplice, the statute would not require that Koch have received any money. Criminal

liability for mail fraud requires that the Government prove only (1) the existence of a

scheme to defraud, and (2) the use of the mails in executing that scheme. United States

v. Manzer, 69 F.3d 222, 226 (8th Cir. 1995). The statute’s “obtaining money or property”

wording provides an alternative theory of liability. One can be guilty of mail fraud for

“having devised or intending to devise any scheme or artifice to defraud” or for “having

devised or intending to devise any scheme or artifice . . . for obtaining money or property

by means of false or fraudulent pretenses . . . .” 18 U.S.C. § 1341. Nothing in the statute

requires that the defendant actually receive the money, property, or any other fruit of the

fraud.

         Because the bill of particulars Koch seeks would not inform him of the nature of

the charges with significant precision, granting his motion for a bill of particulars would be

improper. United States v. Livingstone, 576 F.3d 881, 883 (8th Cir. 2009).

                                      CONCLUSION

         As Defendants’ argue, this criminal prosecution is not like most others. The

Government has permitted Park Nicollet to conduct substantial portions of the

investigation, for which the Government would traditionally be responsible. Park Nicollet

has provided the Government access to its records, its personnel and even its insurer, all




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of which are intended to benefit both the Government in its prosecution of Koch and

Kangas, and Park Nicollet and its insurer in securing restitution. The defendants in

contrast would be required to undertake the time and expense of subpoenaing the

records, which would likely engender an objection, further delaying production of the

material. In short, protection of Defendants’ Due Process rights compels this result in the

facts and circumstances of this case. The alternative places a significant burden on

Defendants’ ability to obtain relevant material and exculpatory evidence as requiring

Defendants’ to subpoena the material will result in prolonged pretrial litigation,

unnecessarily inflated defense costs, and needless delay of Defendants’ right to a trial.

                                         ORDER

       For these reasons, IT IS HEREBY ORDERED:

                             Koch’s Motions for Discovery

       1.     Koch’s Motion for Discovery and Inspection [Docket No. 36] is GRANTED

IN PART AND DENIED IN PART as follows:

              a. The United States shall continue to comply with all of its discovery

obligations under the Federal Rules of Criminal Procedure and applicable case law.

              b. Koch’s request for all of Koch’s written, oral, or otherwise recorded

statements, whether inculpatory or exculpatory, including emails and text messages is

GRANTED under Rule 16(a)(1)(A)–(B). The United States shall obtain and disclose these

statements within thirty days.

              c. Koch’s request for Kangas’s statements made in furtherance of the

alleged scheme to defraud is DENIED. Rule 16(a)(1)(A)–(B) applies only to a defendant’s

own oral, written, or recorded statement.




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              d. Koch’s request for all material books, papers, documents, photographs,

tangible objects, copies of portions thereof, which the Government intends to use as

evidence at trial, or which were obtained from or belong to Koch, and which concern his

alleged role in the scheme to defraud is GRANTED under Rule 16(a)(1)(E). The United

States shall obtain and disclose these documents or objects, including Park Nicollet’s

2013 and 2014 evaluations of Koch, within thirty days.

              e. Koch’s request for documentation in Park Nicollet’s files confirming an

executive awareness of Kangas’s billing practices and the gross pay he received for being

on 24-hour call during his employment is GRANTED under Rule 16(a)(1)(E). If this

documentation exists, the United States shall obtain and disclose it within thirty days.

              f. Koch’s request for Kangas’s employment contract from Park Nicollet,

which confirms his availability or compensation, is GRANTED under Rule 16(a)(1)(E).

The United States shall obtain and disclose this documentation within thirty days.

              g. Koch’s request for his prior criminal record is GRANTED under

Rule 16(a)(1)(D). The United States shall disclose this record within thirty days.

              h. Koch’s request for the identification of any expert witness the

Government intends to call at trial, including their qualifications and the substance of their

testimony, is GRANTED. The United States shall make this disclosure no less than 60

days before trial.

              i.     Koch’s request for evidence other than patient records (which are

addressed in paragraph 6 below) that the services Kangas provided to patients during

off-hours were medically necessary, made at the patients’ request, and billed consistent




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with his employment contract, is GRANTED under Rule 16(a)(1)(E). The United States

shall obtain and disclose these documents within thirty days.

             j.   Koch’s request for Park Nicollet’s profits gained from Kangas’s

treatment of patients is DENIED WITHOUT PREJUDICE. Koch has not shown how this

information is material to preparing his defense.

             k. Koch’s request for a transcript of the Grand Jury testimony for

impeachment purposes is DENIED WITHOUT PREJUDICE. Under Rule 16(a)(3), Rule

16 “does not apply to the discovery or inspection of a grand jury’s recorded proceedings.”

Nor has Koch established a basis for ordering that the Grand Jury transcript be disclosed

under Rules 6, 12(h), or 26.2.

             l.   Koch’s request for records of every patient Kangas treated who was

satisfied with his work, and who had reason to call him during off-hours, as well as

Kangas’s logs documenting his work, is DENIED. The Court will review the information in

camera as Ordered below in Paragraph 6.

             m. Koch’s request for the internal investigations of Park Nicollet and its

insurance company is GRANTED under Rule 16(a)(1)(E). The United States shall obtain

and disclose these documents within thirty days.

             n. Koch’s request for any emails from Park Nicollet to the Federal Bureau

of Investigation, which reference Koch’s employment is GRANTED IN PART AND

DENIED IN PART under Rule 16(a)(1)(E). The United States shall obtain and disclose

these documents within thirty days. The United States shall not, however, be required to

disclose any emails between Park Nicollet and the FBI, which fall under Rule 16(a)(2) or

for which disclosure is prohibited under 18 U.S.C. § 3500.




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       2.     Koch’s Motion to Compel Attorney for the Government to Disclose

Favorable Evidence [Docket No. 37] (Brady motion) is GRANTED IN PART consistent

with the requirements of Brady v. Maryland, 373 U.S. 83 (1963) and its progeny. Within

ten days of this order, the United States shall disclose all Brady and Giglio information in

its possession or of which it has become aware and shall promptly supplement its

disclosure upon receipt of any additional Brady and Giglio information not previously

disclosed.

       To the extent that requests in this motion fall outside of Brady but within Rule 16

as discussed above, the United States shall disclose that evidence as ordered. The

United States’ disclosure shall include:

              a. Evidence of prior inconsistent statements of witnesses, particularly

about their ability to view and remember the alleged incidents of treatment rendered by

Kangas;

              b. Evidence of prior, admissible convictions of witnesses who will testify at

trial; and

              c. Evidence of immunity agreements offered to Government witnesses in

exchange for their cooperation or testimony.

       3.     Koch’s Motion for a Bill of Particulars [Docket No. 39] is DENIED.

                            Kangas’s Motions for Discovery

       4.     Kangas’s Motion to Compel Attorney for the Government to Disclose

Evidence Favorable to Defendant [Docket No. 55] (Brady motion) is GRANTED IN PART

consistent with the requirements of Brady v. Maryland, 373 U.S. 83 (1963) and its

progeny. Within ten days of this order, the United States shall disclose all Brady and Giglio




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information in its possession or of which it has become aware and shall promptly

supplement its disclosure upon receipt of any additional Brady and Giglio information not

previously disclosed.

       To the extent that requests in this motion fall outside of Brady but within Rule 16

as discussed below, the United States shall disclose that evidence as ordered. The United

States’ disclosure shall include:

              a. Any statements of any witnesses exculpating Kangas;

              b. Any statements of witnesses which contradict statements of other

witnesses;

              c. Any reports or interviews relating to 4a–b, supra;

              d. Any fingerprints, handwriting, or other scientific evidence obtained

during the investigation, which does not identify Kangas;

              e. Any items seized from parties not charged, which tends to identify that

party, rather than Kangas, with commission of the crime;

              f. Any prior convictions of prospective government witnesses;

              g. Any offers or promises made to prospective government witnesses, to

include their cooperation against Kangas;

              h. Any documents, contracts, agreements, or other terms (written or oral)

referring or relating to Kangas employment at Park Nicollet;

              i.   Any physical or mental examinations of Government witnesses which

may have relevance to the competence or credibility of a Government witness;




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              j.   Any arrest or conviction record of any Government witness, where that

arrest or conviction is admissible to impeach the witness under Rule 609 of the Federal

Rules of Evidence; and

              k. Any evidence of promises made and/or valuable consideration paid to

any undercover agent, confidential informant, co-defendant, government agent, or any

person acting in the employ of the Government or acting in its behalf in connection with

this case in exchange for their testimony and/or involvement with this case, or any 5K1

offers, or offers of leniency for information or any other offers made by those persons.

       5.     Kangas’s Motion for Discovery [Docket No. 57] is GRANTED IN PART AND

DENIED IN PART as follows:

              a. The United States shall continue to comply with all of its discovery

obligations under the Federal Rules of Criminal Procedure and applicable case law.

              b. Kangas’s request for all Kangas’s statements, confessions, admissions,

remarks, or utterances made to investigation officers or third parties, including those

which may have been incorporated in any report, statement, memorandum, or other

document or recording prepared by any person or federal, state, or local government

agents, within the possession, custody, or control of the Government, the existence of

which is known, or by the exercise of due diligence may become known, to Government

is GRANTED under Rule 16(a)(1)(A)–(B). The United States shall obtain and disclose

these statements within thirty days.

              c. Kangas’s request for copies of his prior criminal record, whether federal,

state, or local, is GRANTED under Rule 16(a)(1)(D). The United States shall disclose

these records within thirty days.




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              d. Kangas’s request for any inventory of physical or documentary evidence

that the Government obtained, whether by seizure, process, or other means, which it

intends to offer as evidence at trial, including its place and date of seizure, its present

location, the name of the present custodian, and an opportunity to inspect and make

copies of thereof, is GRANTED IN PART AND DENIED IN PART under Rule 16(a)(1)(E).

The United States shall disclose these documents within thirty days. The United States

shall not be required to disclose any document not subject to disclosure under Rule

16(a)(2).

              e. Kangas’s request for all physical and documentary evidence that the

Government obtained, whether by seizure, process, or other means, which is arguably

relevant to the case and material to preparing the defense, even if the Government does

not intend to offer it as evidence at trial, is GRANTED under Rule 16(a)(1)(E). The

Government shall disclose these documents or make available these objects within thirty

days.

              f. Kangas’s request for any results or reports of physical or mental

examinations, scientific tests, or experiments, which are material to preparing a defense

or that the Government intends to use in its case-in-chief at trial, including reports and

tests relating to chemical analysis, metallurgy, fingerprints, footprints, voice prints, and

handwriting, which are within the Government’s possession, custody, or control, is

GRANTED under Rule 16(a)(1)(F). The United States shall make available these reports

within thirty days.

              g. Kangas’s request for the identification of any expert witness the

Government intends to call at trial, including their qualifications and the substance of their




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testimony, is GRANTED. The United States shall make this disclosure no less than 60

days before trial.

              h. Kangas’s request that the Government provide a specific description of

the circumstances of any search and the manner of search, including officers or third

persons present, items which were seized and the exact location of their seizure, the

exact time of the search and the exact time of the seizure of each item, and the manner

of entry into the place where any items were seized, is DENIED because it falls outside

the scope of any enumerated category in Rule 16 and arguably within a category of

information not subject to disclosure under Rule 16(a)(2).

              i.     Kangas’s request for copies of all search warrants and supporting

affidavits is GRANTED under Rule 16(a)(1)(E). The United States shall disclose these

documents within thirty days.

              j.     Kangas’s request for the name, address, and written statement of any

co-conspirator or co-participant, whether or not named in the indictment, or, if no written

statements were obtained, the investigating officer’s interview report relating to any co-

participant’s statement, activity, and testimony, as well as the name of the investigating

officer(s) present when those statements were taken, is DENIED under Rule 16(a)(2) and

18 U.S.C. § 3500.

              k.      Kangas’s request for the names and addresses of all witness to the

transactions described in the indictment, whom the Government does not intend to call

as witnesses at trial is DENIED because it falls outside the scope of any enumerated

category in Rule 16.




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              l.     Kangas’s request for copies of all witness statements, whether or not

the Government intends to call them at trial, no later than fifteen days before trial is

DENIED. For witness whom the Government does not intend to call at trial, Kangas’s

request falls outside the scope of any enumerated category in Rule 16. For witness whom

the Government intends to call at trial, those statements are Jencks material and the

Court lacks authority to order the Government to disclose those statements before the

witness testifies.

              m. Kangas’s request for the names and addresses of all persons who gave

testimony before the Grand Jury is DENIED.

              n. Kangas’s request for all information in whatever form, source, or other

nature which tends to exculpate the defendant either through his innocence or through

the potential impeachment of any government witnesses; and all information of a similar

nature which may be or become of benefit to the defendant in preparing for or presenting

the merits of his defense of innocence at trial, is DENIED except as ordered above. As

regards patient records, the Court will review the information in camera as Ordered below

in Paragraph 6.

              o. Kangas’s request for the dates, times, and places of any previous

undercover operations involving Kangas authorized by federal, state, or local authorities

or known by federal, state, or local authorities, involving confidential informants or

government witnesses in this case, is DENIED because it falls outside the scope of any

enumerated category in Rule 16.

              p. Kangas’s request for reports, files, notes, photographs, tape recordings,

and evidence gathered or provided by confidential informants or government witnesses




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relating to Kangas or this indictment is GRANTED IN PART under Rule 16(a)(1)(E) if

those documents or objects are material to preparing the defense. The United States shall

disclose these documents within thirty days.

             q. Kangas’s request for the Government to provide a statement detailing

the methods and procedures used to identify Kangas and/or co-participants as the

perpetrators of the offense alleged in the indictment, is GRANTED IN PART AND

DENIED IN PART. If the United States possesses or controls an existing document, it

shall disclose that document under Rule 16(a)(1)(E) within thirty days.

             r. Kangas’s request for the names and addresses of all persons to whom

photographs were exhibited, or audio tapes played for the purposes of identification, and

when and where these displays or playbacks took place, is DENIED because it falls

outside the scope of any enumerated category in Rule 16.

             s. Kangas’s request for copies of all photocopy exhibits, or audiotapes

played for the purpose of identification is GRANTED under Rule 16(a)(1)(E). The United

States shall produce these items within thirty days.

             t. Kangas’s request for the names and addresses of persons who

identified him and/or any known co-participant from photographs or audiotapes as

perpetrators of the offense, and those who could not identify said persons, is DENIED

because if falls outside the scope of any enumerated category in Rule 16.

             u. Kangas’s request for any documents, contracts, agreements or other

terms, written or oral, referring or relating to Kangas’s employment at Park Nicollet is

GRANTED under Rule 16(a)(1)(E). The United States shall obtain and disclose these

documents within thirty days.




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              v. Kangas’s request for all records of invoices or services rendered by

Kangas to Park Nicollet and/or its patients including A) who reviewed the invoices or

records of services; B) the accountants, payment specialists or controllers or other agents

of alleged victim company that approved the payments; C) any internal emails within Park

Nicollet that refer or relate to Kangas; D) Kangas’s employment file from Park Nicollet,

including hiring agreements, correspondence, meeting minutes/notes, reviews,

authorizations, audio/video recordings, training materials, job description, and documents

provided to Kangas during his employment/contracting by Park Nicollet, and any

documents provided by Kangas to Park Nicollet, is GRANTED IN PART AND DENIED

IN PART. If physical documents or objects exist, the United States shall obtain and

disclose those items under Rule 16(a)(1)(E) within thirty days. Neither the United States,

nor any of its agents or third-party arms of the prosecution team, shall be required to

generate documents to disclose under Rule 16.

                       Defendants’ Motions for In Camera Review

         6.   Defendants’ Motions for In Camera Review [Docket Nos. 38 & 58] are

GRANTED. The parties shall meet and confer to develop a plan for sampling and

production to the Court for in camera review of the requested documents. The parties

shall then schedule a hearing to occur before August 31, 2021 to present that plan to the

Court.



Dated: July 21, 2021                             ___s/David T. Schultz________
                                                 DAVID T. SCHULTZ
                                                 United States Magistrate Judge




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